                                          UNITED STATES DISTRICT COURT
                  Case 2:03-cr-00042-MCE
                                   EASTERNDocument 891
                                          DISTRICT OF   Filed 03/08/07 Page 1 of 1
                                                      CALIFORNIA

UNITED STATES OF AMERICA                                  )
                                                          )        CR. S 03-042-FCD
                 v.                                       )
                                                          )
CHARLES LEE WHITE                                         )

                                 APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       ( ) Ad Prosequendum                               (X) Ad Testificandum

Name of Detainee:        JASON THOMAS McGILL
Detained at (custodian): SANTA RITA JAIL
Detainee is:             a.)   ( ) charged in this district by: () Indictment () Information () Complaint
                                charging detainee with: .
                or       b.)   (X) a witness not otherwise available by ordinary process of the Court

Detainee will:            a.)    (X) return to the custody of detaining facility upon termination of proceedings
                 or       b.)    () be retained in federal custody until final disposition of federal charges, as a sentence
                                   is currently being served at the detaining facility

        Appearance is necessary before United States District Court Judge Frank C. Damrell, Jr. on March 20, 2007, at
9:00 a.m. in the Eastern District of California.

                                 Signature:                        /s/ Kenneth J. Melikian
                                 Printed Name & Phone No:          AUSA KENNETH J. MELIKIAN               (916)554-2700
                                 Attorney of Record for:           United States of America

                                            WRIT OF HABEAS CORPUS
                          ( ) Ad Prosequendum                 (X) Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, on MARCH 20, 2007 at 9:00 a.m. and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.




Date:   March 7, 2007                               _____________________________________________
                                                    United States District Court Judge
_________________________________________________________________________________________________
Please provide the following, if known:

AKA(s) (if applicable):          _____________________________________________                       Male X
Booking or CDC #:                 BAF250                                                             DOB: **/**/1975
Facility Address:                5325 Broder Blvd., Dublin, CA 94568                                 Race: Black
                                 _______________________________________                             FBI #:
Facility Phone:                  (925)551-6760
Currently Incarcerated For:      _____________________________________________

_________________________________________________________________________________________________
                                                   RETURN OF SERVICE
Executed on      ____________________________                  By: ___________________________________________________
                                                                   (Signature)
